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1    MCGREGOR G. SCOTT
     United States Attorney
2    LAUREL D. WHITE
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2700
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9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       )     No. Cr-S-03-384 WBS
                                     )
14                   Plaintiff,      )
                                     )     STIPULATION AND ORDER RE:
15        v.                         )     EXCLUDING TIME UNDER THE SPEEDY
                                     )     TRIAL ACT.
16   MICHAEL LABRECQUE,              )
          aka Joseph;                )
17   JULIETTE LABRECQUE,             )
          aka Mary; and              )
18   ALLEN HARROD,                   )
          aka Isaac,                 )
19                                   )
                     Defendants.     )
20                                   )
     _______________________________ )
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22        On April 19, 2006, a hearing was held on defendants’ and the
23   government’s   motions in limine to exclude certain evidence in the
24   trial of the above-named defendants.      Appearing for the government were
25   Assistant U.S. Attorney’s Laurel D. White and Ellen V. Endrizzi.        All
26   three defendants were present, and in the company of their attorneys,
27   Jan Karowsky for Juliette Labrecque, Bruce Locke for Allen Harrod, and
28   Caro Marks for Michael Labrecque.
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1         Before addressing the motions in limine, the court decided to
2    address first, defendants’ motion to waive jury trial.1             Following
3    discussion, and a second round of research on the issue, the
4    defendants’ motion to waive jury trial was submitted to the court for
5    decision.     For the reasons stated orally on the record at the
6    conclusion of the hearing, the court granted defendants’ motion.                The
7    court did not hear argument or rule on the other pending motions.
8         At the government’s request this court stayed the proceedings and
9    vacated the April 25, 2006 trial date to permit the government time to
10   seek approval from the Solicitor General to pursue mandamus relief from
11   the Ninth Circuit, and time to litigate its Writ of Mandamus.
12        Therefore, in light of the pending motions, and because of the
13   time needed to adjudicate the government’s writ, the parties request
14   that the court find that the time between April 5, 2006,2 and the date
15   the Ninth Circuit renders a decision on the government’s writ, or this
16   court rules on pending motions, which ever date occurs last, be
17   excluded under the Speedy Trial Act.           The parties stipulate that time
18   shall be properly excluded under 18 U.S.C. § 3161(h)(1)(F) - delay
19   resulting from any pretrial motion, from the filing of the motion
20   through the conclusion of the hearing or other prompt disposition of,
21   such motion; 18 U.S.C. § 3161(h)(1)(E) - delay resulting from any
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           Although all motions were to have been filed by April 10th,
24   defendant Allen Harrod filed on April 14, 2006, a motion to waive jury
     trial. In his motion, he represented that his co-defendants, Juliette
25   and Michael Labrecque, joined in his motion for a bench trial. The
     government, on April 17, 2006, filed its response in opposition to the
26   jury trial waiver, and indicated it would not consent to waive jury
     trial.
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           The first motion to be filed was defendant Michael Labreceque’s
28   notice of motion and motion for disclosure of Fed.R.Cr.P. 414 and
     404(b) evidence, filed on April 5, 2006.

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1    interlocutory appeal; and 18 U.S.C. § 3161(h)(8)(A)(B)(iv) - in order
2    to provide the parties with reasonable time necessary for effective
3    preparation, taking into account the exercise of due diligence.3
4    Dated: April 24, 2006                      Respectfully submitted,
5                                               McGREGOR w. SCOTT
                                                United States Attorney
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7
                                          BY:      //S// Laurel D. White
8                                               LAUREL D. WHITE
                                                Assistant U.S. Attorney
9
10                                        By:      //s// Laurel D. White
                                                w/permission of and for
11                                              CARO MARKS
                                                Attorney for Defendant
12                                              Michael Labrecque
13
                                          By:    //s//   Laurel D. White
14                                              w/permission of and for
                                                JAN KAROWSKY
15                                              Attorney for Defendant
                                                Juliette Labrecque
16
17                                        By:      //s// Laurel D. White
                                                w/permission of and for
18                                              BRUCE LOCKE
                                                Attorney for Defendant
19                                              Allen Harrod
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26         On April 20, 2006, the government ordered an expedited transcript
     of the April 19th hearings. On April 20, 2006, the government submitted
27   documents to the Solicitor General requesting permission to seek
     mandamus relief from the Ninth Circuit. Upon receiving such approval,
28   the government intends to request an expedited briefing and hearing
     before the Ninth Circuit.

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4                                      O R D E R
5         There being good cause therefor, this Court hereby finds that the
6    time between April 5, 2006, and the date the Ninth Circuit renders a
7    decision on the government’s writ, or this court rules on pending
8    motions, which ever date occurs last, be excluded under the Speedy
9    Trial Act.   Time shall be properly excluded under 18 U.S.C. §
10   3161(h)(1)(F) - delay resulting from any pretrial motion, from the
11   filing of the motion through the conclusion of the hearing or other
12   prompt disposition of, such motion; 18 U.S.C. § 3161(h)(1)(E) - delay
13   resulting from any interlocutory appeal; and 18 U.S.C. §
14   3161(h)(8)(A)(B)(iv) - in order to provide the parties with reasonable
15   time necessary for effective preparation, taking into account the
16   exercise of due diligence.
17        IT IS SO ORDERED.
18   Dated:   April 25, 2006
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